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                                    No. 24-60395

                   UNITED STATES COURT OF APPEALS
                        FOR THE FIFTH CIRCUIT

   Republican National Committee, Mississippi Republican Party, James Perry,
                              Matthew Lamb,

                               Plaintiffs – Appellants,

                                          v.

Justin Wetzel, in his official capacity as the clerk and registrar of the Circuit Court
  of Harrison County; Toni Jo Diaz, in their official capacities as members of the
 Harrison County Election Commission; Becky Payne, in their official capacities
  as members of the Harrison County Election Commission; Barbara Kimball, in
their official capacities as members of the Harrison County Election Commission;
  Christene Brice, in their official capacities as members of the Harrison County
 Election Commission; Carolyn Handler, in their official capacities as members of
    the Harrison County Election Commission; Michael Watson, in his official
                  capacity as the Secretary of State of Mississippi,

                              Defendants – Appellees,

        Vet Voice Foundation; Mississippi Alliance for Retired Americans,

                         Intervenor Defendants – Appellees

                          Libertarian Party of Mississippi,

                                Plaintiff – Appellant,

                                          v.

Justin Wetzel, in his official capacity as the clerk and registrar of the Circuit Court
  of Harrison County; Toni Jo Diaz, in their official capacities as members of the
 Harrison County Election Commission; Becky Payne, in their official capacities
  as members of the Harrison County Election Commission; Barbara Kimball, in
their official capacities as members of the Harrison County Election Commission;
   Cristene Brice, in their official capacities as members of the Harrison County
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Election Commission; Carolyn Handler, in their official capacities as members of
   the Harrison County Election Commission; Michael Watson, in his official
                capacity as the Secretary of State of Mississippi,

                             Defendants – Appellees

                 On Appeal from the United States District Court
                     for the Southern District of Mississippi
                              Hon. Louis Guirola, Jr.

              Case Nos. 1:24-cv-25-LG-RPM; 1:24-cv-37-LG-RPM

         BRIEF OF INTERVENOR DEFENDANTS – APPELLEES
                VET VOICE FOUNDATION AND THE
         MISSISSIPPI ALLIANCE FOR RETIRED AMERICANS



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                  CERTIFICATE OF INTERESTED PERSONS

        No. 24-60395, Republican National Committee et al. v. Wetzel et al.

      The undersigned counsel of record certifies that the following listed persons

and entities as described in the fourth sentence of Rule 28.2.1 have an interest in the

outcome of this case. These representations are made in order that the judges of this

court may evaluate possible disqualification or recusal.

      A.     Plaintiffs–Appellants:

             1.     Republican National Committee

             2.     Mississippi Republican Party

             3.     James Perry

             4.     Matthew Lamb

             5.     Libertarian Party of Mississippi

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D.   Defendants–Appellees:

     1.    Justin Wetzel, in his official capacity as the clerk and registrar
           of the Circuit Court of Harrison County

     2.    Toni Jo Diaz, in her official capacity as member of the Harrison
           County Election Commission

     3.    Becky Payne, in her official capacity as member of the Harrison
           County Election Commission

     4.    Barbara Kimball, in her official capacity as member of the
           Harrison County Election Commission

     5.    Cristene Brice, in her official capacity as member of the
           Harrison County Election Commission

     6.    Carolyn Handler, in her official capacity as member of the
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     7.    Michael Watson, in his official capacity as the Secretary of
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     2.    Mississippi Alliance for Retired Americans

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     9.    Mississippi Center for Justice

I.   Other Interested Parties:

     1.    Democratic National Committee

     2.    Public Interest Legal Foundation

     3.    Disability Rights Mississippi



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     4.    American Civil Liberties Union Foundation

     5.    Joshua Tom

     6.    American Civil Liberties Union Foundation of Mississippi

     7.    Neil Steiner


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     5.    Sejal Jhaveri

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     7.    Angela Givens Williams

     8.    Mitzi Dease Paige

     9.    United States Department of Justice

                                /s/ Elisabeth C. Frost
                                Elisabeth C. Frost

                                Counsel for Intervenor Defendants–
                                Appellees




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                       RULE 26.1 DISCLOSURE STATEMENT

      Vet Voice Foundation and the Mississippi Alliance for Retired Americans

have no parent corporation, and no corporation owns 10 percent or more of their

stock. No publicly traded company or corporation has an interest in the outcome of

this case or appeal.

                         ORAL ARGUMENT STATEMENT

      The case is scheduled for oral argument on Tuesday, September 24.




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                                  INTRODUCTION

      In 2020, the Mississippi Legislature voted nearly unanimously to enact a

commonsense measure to help protect lawful voters who timely cast their ballots by

mail, ensuring such ballots would not be rejected due to common mail delays. The

law provides that mail ballots received within “five (5) business days [of] the

election,” shall be counted, provided that they “must be postmarked on or before the

date of the election.” Miss. Code § 23-15-637(1)(a) (emphasis added). With the

enactment of this law, Mississippi joined the ranks of nearly thirty states and

territories with similar laws, which help ensure that the results of elections reflect

the choices of the voters who participate in them. While these laws can protect any

voter who casts their ballot by mail, they are particularly necessary to guard against

the disenfranchisement of servicemembers, veterans, and older voters—who may

have no choice but to vote by mail and are particularly susceptible to having their

right to vote put at risk by election-day receipt deadlines. 1 These are the communities

served by Intervenor Defendants-Appellees Vet Voice Foundation and the

Mississippi Alliance for Retired Americans (“Intervenors”), and they intervened in

this action to protect the rights of those voters.

      Despite the widespread adoption of similar laws, and their critical importance



1
 A substantial number of states have passed laws that allow election officials to
count ballots received after election day for servicemembers exclusively.


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to servicemembers and older voters, Appellants insist that any law that allows

election officials to count mail ballots received after election day conflicts with

federal statutes, namely 2 U.S.C. §§ 1, 7 and 3 U.S.C. § 1 (the “Election Day

Statutes”). Appellants are wrong, though not for lack of trying. This is at least the

seventh case in which this preemption theory has been raised—all have failed. The

courts to reach the merits have rejected Appellants’ theory root and branch, while

the remainder have dismissed the cases on standing grounds.

      Appellants have not discovered some winning argument that all the litigants

before them missed. Appellants’ theory finds not a shred of support in the text,

structure, legislative history, or purpose of the Election Day Statutes. Other federal

statutes—most notably the Uniformed and Overseas Citizens Absentee Voting Act

(“UOCAVA”)—further show that Congress has never understood the Election Day

Statutes to displace state ballot receipt deadlines. As a result, Appellants are left to

grasp at straws. They place astonishing reliance on a single eight-decade old

Montana state court decision that resolved a question of state law, ignoring that other

state courts came out differently on the very same issue at that time. They squint at

the Supreme Court’s decision in Foster v. Love to divine a construction of the term

“election” that the Court expressly declined to provide. And they attempt to sweep

under the rug historical evidence showing that state ballot receipt deadlines have

been common—and never displaced by Congress—for over a century. This



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historical record shows not only that such laws operate harmoniously with the

Election Day Statutes, but also that they have proven critical to enfranchising

servicemembers, particularly during times of conflict. Yet Appellants would sweep

away all such laws based on a recently invented preemption claim.

      This Court should reject that effort and affirm the district court’s well-

reasoned summary judgment order as to the merits of Appellants’ claim.

                        JURISDICTIONAL STATEMENT

      This Court has appellate jurisdiction because Appellants appeal from a final

judgment under 28 U.S.C. § 1291; see also ROA.1184 (final judgment). Both the

Mississippi Secretary of State and the Intervenors challenged Plaintiffs standing

under Article III below. ROA.442, 497, 657. No party has cross-appealed the district

court’s finding of standing here.

                            STATEMENT OF ISSUES

      Whether Miss. Code § 23-15-637(1)(a), which provides that absentee ballots

“postmarked on or before the date of the election” shall be counted if they are

received by election officials within five business days after election day, conflicts

with 2 U.S.C. §§ 1, 7 and 3 U.S.C. § 1 or violates the U.S. Constitution.

                          STATEMENT OF THE CASE

 I.   Mississippi’s Ballot Receipt Deadline

      The Elections Clause grants states the principal power to set the “Times,

Places and Manner of holding Elections for Senators and Representatives,” but

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reserves the right of Congress to, “at any time by Law make or alter such

Regulations.” U.S. Const., art. I, § 4, cl.1. Similarly, Article II, Section 1, Clause 4

provides that “Congress may determine the Time of ch[oo]sing the [presidential]

Electors, and the Day on which they shall give their Votes,” id., art. II, § 1, cl. 4,

while the Electors Clause reserves to the states the power to choose the “Manner” of

appointing electors, id. § 1, cl. 2.

       Consistent with this authority, Congress enacted the Election Day Statutes,

which set the time for the general election for congressional races as “[t]he Tuesday

next after the 1st Monday in November, in every even numbered year,” 2 U.S.C. §

7, and the presidential election as “the Tuesday next after the first Monday in

November, in every fourth year,” 3 U.S.C. §§ 1, 21. And, exercising its constitutional

authority to set the Manner for these elections, the Mississippi Legislature enacted

Mississippi Code § 23-15-637(1)(a) (the “Ballot Receipt Deadline”), which provides

for the counting of absentee mail ballots that are cast by qualified voters by election

day, “postmarked on or before the date of the election and received by the registrar

no more than five (5) business days after the election.”

       The Ballot Receipt Deadline is just one part of a comprehensive code enacted

by the Legislature to govern the administration of elections in Mississippi. That code

sets forth how voters may cast their ballots, where they may cast them, and the

procedures for counting them. This includes provisions that allow certain voters to



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cast their ballots absentee. See Miss. Code § 23-15-1, et seq. Unlike many other

states, Mississippi has elected to keep absentee voting strictly limited; only voters

who fall into certain categories may cast their votes absentee. These include voters

65 years or older; voters with temporary or permanent physical disabilities; voters

away from their county of residence on election day; and enlisted or commissioned

members of the Armed Services. See id. §§ 23-15-713, 23-15-673. There are no drop

boxes available to voters to return their ballots to election officials in Mississippi,

and the law reflects the Legislature’s general expectation that absentee ballots are

ordinarily returned through the mail. See id. § 23-15-907 (limiting who may return

absentee ballots beyond employees of the U.S. Postal Service and other common

carriers).

       The Ballot Receipt Deadline passed out of both houses of the Mississippi

Legislature with broad bipartisan margins—with only one vote against it in the

House and a unanimous vote in favor in the Senate—in 2020. 2 It ensures that ballots

shown by postmark to be cast on or before election day are not rejected simply

because of minor mail delivery delays. But even then, the Mississippi Legislature

strictly limited the rule’s application: a ballot that is postmarked on or before election

day “shall not be counted” if it is received more than five business days after the


2
  See Roll Call Vote, H.B. 1521, Miss. H.R., 2020 Reg. Sess. (Mar. 10, 2020),
perma.cc/56WK-5HYE; Roll Call Vote, H.B. 1521, Miss. State S., 2020 Reg. Sess.
(June 15, 2020), perma.cc/2CZR-7MQX.


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election. Id. § 23-15-637(1)(a).

      Nearly two dozen other U.S. states and territories have similar laws, accepting

timely-cast ballots that are received by election officials within some designated

window after election day. And even more have similar laws that apply to military

servicemembers specifically. In total, at least 28 states, the District of Columbia, and

several U.S. territories permit timely cast ballots to arrive after election day for at

least some voters. 3 With its five-day deadline, Mississippi is firmly on the

conservative side of these laws—some accept ballots that arrive up to two weeks

after the election, or any time before the official canvass. 4

II.   These Lawsuits

      In early 2024, nearly four years after the Ballot Receipt Deadline was enacted,

the Republican National Committee, the Mississippi Republican Party, an individual



3
   See Ala. Code § 17-11-18(b); Alaska Stat. § 15.20.081; Ark. Code § 7-5-
411(a)(1)(A)(ii); Cal. Elec. Code § 3020(b); D.C. Code § 1-1001.05(a)(10B); Fla.
Stat. § 101.6952(5); Ga. Code § 21-2-386(a)(1)(G); 10 Ill. Comp. Stat. 5/19-8, 10
Ill. Comp. Stat. 5/18A-15; Ind. Code § 3-12-1-17(b); Kan. Stat. 25-1132(b); Mass.
Gen. Laws ch. 54 § 93; Md. Code Regs. 33.11.03.08(B)(4); Mich. Comp. Laws §
168.759a(18); Miss. Code § 23-15-637(1)(a); Mo. Rev. Stat. § 115.920(1); Nev.
Rev. Stat. § 293.269921(1)(b), (2); N.J. Stat. § 19:63-22(a); N.Y. Elec. Law § 8-
412(1); N.D. Cent. Code § 16.1-07-09; Ohio Rev. Code § 3509.05(D)(2)(a); Or. Rev.
Stat. § 254.470(6)(e)(B); 25 Pa. Cons. Stat. § 3511(a); R.I. Gen. Laws § 17-20-16;
S.C. Code § 7-15-700(A); Tex. Elec. Code § 86.007(a)(2); Utah Code § 20A-3a-
204(2)(a); Va. Code § 24.2-709(B); Wash. Rev. Code § 29A.40.091; W. Va. Code
§ 3-3-5(g)(2).
4
 Tbl. 11: Receipt & Postmark Deadlines for Absentee/Mail Ballots, Nat’l Conf. of
State Legs. (June 12, 2024), perma.cc/H9ZG-P92W.


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Mississippi voter, and a Commissioner for the George County Election Commission

(collectively, the “RNC”) sued to enjoin Mississippi officials from counting ballots

that arrive after election day even if postmarked on or before election day as required

by Mississippi law.

      The RNC’s primary allegation is that Mississippi’s Ballot Receipt Deadline is

preempted by the Election Day Statutes. See RNC Compl. ¶¶ 62–69, ROA.33-34.

Although its complaint also alleges two constitutional claims, both are derivative of

the preemption claim. Count II—styled as a claim for the “Violation of the Right to

Stand for Office”—relies on the assumption that any ballots cast in accordance with

the Ballot Receipt Deadline “are not valid” “[u]nder federal law.” Id. ¶ 71, ROA.34;

see also id. ¶ 72, ROA.34 (alleging RNC Plaintiffs’ “right to stand for office” is

injured because they must “spend money, devote time, and otherwise injuriously

rely on unlawful provisions of state law in organizing, funding, and running their

campaigns” (emphasis added)). Similarly Count III, which is titled “Violation of the

Right to Vote,” relies on the premise that the Ballot Receipt Deadline requires

counties to count ballots that “[u]nder federal law . . . are not valid.” Id. ¶ 76,

ROA.35; see also id. ¶ 78, ROA.35 (“Mississippi’s voting system permits

illegitimate votes and therefore violates the Fourteenth Amendment.”).

      Several weeks after the RNC filed suit, the Libertarian Party of Mississippi

filed its own complaint bringing nearly identical claims. The primary difference is



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in the Libertarian Party’s Count III, which alleges that the Ballot Receipt Deadline

conflicts not only with the Election Day Statutes (as the RNC alleges), but also with

provisions of the U.S. Constitution granting Congress the power to set the time of

elections. See Libertarian Party Compl. ¶¶ 69–81, ROA.1291-93. Like the RNC, the

Libertarian Party’s two other claims are derivative of this primary claim: it, too,

alleges that the Ballot Receipt Deadline is a “Violation of the Right to Vote” based

on the premise that the Ballot Receipt Deadline “conflicts with [the Election Day

Statutes] and is invalid,” id. ¶ 61, ROA.1290 (Count I), and that it violates the

Libertarian Party’s “Right to Stand for Office,” id. ¶ 66, ROA.1291 (Count II),

premised again on the assertion that the Ballot Receipt Deadline is an “unlawful

provision[],” id.

      Both the RNC and the Libertarian Party sought an injunction prohibiting

Defendants from counting any absentee ballots received by mail after election day

in all future congressional and presidential elections in Mississippi, as well as a

declaration that the Ballot Receipt Deadline deprives them of rights secured by the

Constitution and Acts of Congress. See ROA.36; ROA.1293.

      The district court correctly disposed of Appellants’ claims on the merits and

granted summary judgment to Defendants and Intervenors. The court held that

precedent, legislative history, statutory purpose, and historical practice all show

that the Ballot Receipt Deadline “operates consistently with and does not conflict



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with the Electors Clause or the election-day statutes.” ROA.1181.

III.   Prior Failed Challenges to Mail Ballot Receipt Deadlines

       This is not the first case to raise Appellants’ preemption theory in an attempt

to challenge a state’s ballot receipt deadline. The RNC’s and Libertarian Party’s

latest efforts are two of seven similar recent attempts—all brought in the last four

years—to challenge post-election day ballot receipt deadlines in federal court under

similar theories. The RNC was or is a plaintiff in three of those cases. None has

succeeded. Most were dismissed on standing grounds, but the courts that opined on

the merits have also uniformly rejected Appellants’ preemption theories.

       In the first such case, Donald J. Trump for President, Inc. v. Way, the RNC,

the Trump campaign, and the New Jersey Republican Party alleged that a New

Jersey law allowing officials to canvass ballots received within two days of election

day was preempted by the Election Day Statutes. See 492 F. Supp. 3d 354, 369

(D.N.J. 2020) (“Way I”). The district court rejected the plaintiffs’ motion for a

preliminary injunction, finding they were unlikely to succeed on the merits. Id. at

373. It later dismissed the action in its entirety for lack of standing. Donald J.

Trump for President, Inc. v. Way, No. 20-10753 (MAS) (ZNQ), 2020 WL 6204477,

at *11 (D.N.J. Oct. 22, 2020) (“Way II”).

       Next, a Pennsylvania congressional candidate and voters brought a similarly-

reasoned suit challenging the Pennsylvania Supreme Court’s decision that



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Pennsylvania’s constitution required a three-day post-election receipt deadline. See

Bognet v. Sec’y Commonwealth of Pa., 980 F.3d 336, 345–46 (3d Cir. 2020), cert.

granted, judgment vacated sub nom. Bognet v. Degraffenreid, 141 S. Ct. 2508

(2021). 5 The plaintiffs argued the deadline violated the Fourteenth Amendment’s

Equal Protection Clause, because (1) it “treated them,” as in-person voters, “in an

arbitrary and disparate way by elevating mail-in voters to a ‘preferred class of

voters,’” and (2) unlawfully “dilute[d]” their votes. Id. (quoting Bognet v.

Boockvar, No. 3:20-cv-215, 2020 WL 6323121, at *2 (W.D. Pa. Oct. 28, 2020)).

Those plaintiffs further alleged violations of the Elections Clause, the Electors

Clause, and the Election Day Statutes. See Compl. at 20–25, Bognet v. Boockvar,

No. 3:20-cv-215 (W.D. Pa. Oct. 22, 2020), ECF No. 1. The district court declined

to issue injunctive relief and the Third Circuit affirmed, finding the plaintiffs lacked

standing. Bognet, 980 F.3d at 364–65. 6


5
  In the underlying state court action, the Respondents (including the RNC) pointed
to the Election Day Statutes as a bar to counting timely cast ballots received after
election day. Pa. Democratic Party v. Boockvar, 238 A.3d 345, 368 (Pa. 2020). The
Pennsylvania Supreme Court was unpersuaded, noting the Election Day Statutes
were consistent with “federal and state law allowing for the tabulation of military
and overseas ballots received after Election Day.” Id. at 368 n.23.
6
  The Supreme Court’s vacatur of Bognet as moot was not based on the merits but
rather in keeping with its practice of vacating opinions that become moot on appeal.
See United States v. Munsingwear, Inc., 340 U.S. 36, 39 (1950). The vacated
decision remains persuasive. See Melot v. Bergami, 970 F.3d 596, 599 n.11 (5th Cir.
2020) (finding persuasive a “thoughtful opinion” that was “vacated as moot on
rehearing”).


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      The third case, Bost v. Illinois State Board of Elections, was filed in May

2022 by a congressman and voters who had previously served as presidential

electors. See 684 F. Supp. 3d 720, 726 (N.D. Ill. 2023). The plaintiffs asserted

nearly identical challenges to Illinois’ 14-day ballot-receipt deadline as here,

alleging a “Violation of the Right to Vote,” “Violation of the Right to Stand for

Office,” and “Violation of [the Election Day Statutes].” Compl. at 7–10, Bost v. Ill.

State Bd. of Elections, No. 22-cv-2754 (N.D. Ill. May 25, 2022), ECF No. 1. The

district court dismissed, holding both that the plaintiffs lacked standing and that

they had not stated a claim upon which relief may be granted. 684 F. Supp. 3d at

739. Just a few weeks ago, the Seventh Circuit affirmed on standing grounds. Bost

v. Ill. State Bd. of Elections, --- F.4th ----, No. 23-2644, 2024 WL 3882901 (7th

Cir. Aug. 21, 2024).

      In July 2023, a county elections administrator brought a fourth case in federal

court challenging a North Dakota statute that permits mail ballots to be counted if

postmarked by the day before election day and received within 13 days of the

election. See Splonskowski v. White, No. 1:23-cv-00123, 2024 WL 402629, at *1

(D.N.D. Feb. 2, 2024). That plaintiff alleged the North Dakota law conflicts with

the Election Day Statutes. See Compl. at 8–9, Splonskowski v. White, No. 1:23-cv-

00123-DMT-CRH (D.N.D. July 5, 2023), ECF No. 1. The district court dismissed

the case for lack of standing. Id. at *2.



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      Most recently, on May 3, 2024, the RNC, the Nevada Republican Party,

Donald J. Trump for President 2024, Inc., and a Nevada voter brought an almost

identical challenge to this one against Nevada’s similar deadline. See Compl,

Republican Nat’l Comm. v. Burgess, No. 3:24-cv-00198 (D. Nev. May 3, 2024),

ECF No. 1. That case was dismissed for lack of standing on July 17 and is currently

on appeal to the Ninth Circuit. Republican Nat’l Comm. v. Burgess, No. 3:24-cv-

00198-MMD-CLB, 2024 WL 3445254 (D. Nev. July 17, 2024); Republican Nat’l

Comm. v. Burgess, No. 24-5071 (9th Cir. Aug. 19, 2024) (appeal filed).

                          SUMMARY OF ARGUMENT

      The district court’s order should be affirmed. Each of the causes of action

asserted in the two complaints rests on the same flawed premise: that the federal

statutes designating the Tuesday after the first Monday in November as the day of

the “election” require that all absentee ballots be received, as opposed to merely cast,

by that day. A straightforward application of traditional tools of statutory

construction demonstrates why that is wrong. The text, history, purpose, and

structure of the Election Day Statutes all show that voters must cast their ballots by

election day, but ministerial acts such as receipt, signature matching, counting, and

canvassing may—and by necessity do—occur after election day.

      The plain text of the Election Day Statutes requires only that the voters’

“choice” is made by election day. As the RNC points out, both contemporaneous



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dictionary definitions and Supreme Court case law describe the day of the “election”

as the day of the public’s “choice.” The Ballot Receipt Deadline is entirely consistent

with that definition—it requires voters to make their final choice on or before

election day. Mississippi ensures this by requiring that all ballots be postmarked by

that day. Once the voter mails their ballot, there is no opportunity for the voter to

change his or her mind after election day—the vote has been cast and is out of the

voter’s control.

      The legislative history relating to statutory purpose confirms that this is all the

Election Day Statutes require. As courts have noted, the Election Day Statutes were

meant to prevent (1) early federal election results in one state from influencing later

voting in other states and (2) the burden on citizens forced to turn out on multiple

days for multiple elections. Requiring voters to make a “final choice” by election

day is consistent with these goals, while requiring election day receipt deadlines

would do nothing to further them.

      Cases interpreting the Election Day Statutes have uniformly come to the same

conclusion. Ignoring this precedent, Appellants rely instead, first, on a decades-old

state court decision that plainly is not controlling here (and has never been cited as

persuasive authority on the meaning of the Election Day Statutes). They next rely

on a strained interpretation of an out-of-context sentence from the Supreme Court’s

decision in Foster v. Love to argue that the “combined actions of voters and officials”



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must be completed on election day. But that interpretation runs headlong into the

Supreme Court’s explicit cabining of its holding in Foster and would produce absurd

results. As both sets of Appellants acknowledge, official actions to finalize election

results after the federal election day—including processing, counting, and

certification—are commonplace. Appellants offer no reasoned explanation why

these necessary administrative actions for finalizing a vote tally may occur after

election day, but ballot receipt—a similar ministerial act of elections officials—may

not.

       Historical practice also supports the Ballot Receipt Deadline. Post-election-

day receipt deadlines have been a feature of American elections for over 150 years.

Yet at no point has Congress indicated that the Election Day Statutes preempt these

state laws. In fact, history shows that when Congress does want to require election-

day ballot receipt, it has done so explicitly, as it did when it enacted the 1942 Soldier

Voting Act. And in the modern era, far from expressing an intent to preempt state

law ballot receipt deadlines, Congress has incorporated them by reference in statutes

governing voting for military and overseas voters.

       All of this is reason enough to reject Appellants’ claims out of hand. But even

if the Court were inclined to entertain their theory, Appellants are at the very least

barred from obtaining relief in advance of the 2024 general election. Appellants have

hardly acted with dispatch in bringing this litigation—they filed their complaints



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nearly four years after the challenged statute was enacted. And oral argument in this

case is now scheduled for the day after Mississippi officials are required to print and

make available absentee ballots—with instructions explaining that ballots must be

postmarked by election day and received within five business days thereafter.

Upending the settled expectations of Mississippi voters—as well as the expectations

of millions of voters casting ballots under similar state laws—at this late date would

lead to significant voter confusion and clearly run afoul of the so-called Purcell

principle.

                              STANDARD OF REVIEW

       This court reviews the district court’s grant of a motion for summary judgment

de novo. Hankins v. Wheeler, 109 F.4th 839, 844 (5th Cir. 2024).

                                     ARGUMENT

 I.    Mississippi’s Ballot Receipt Deadline does not directly conflict with
       federal law.

       Appellants face a high bar in showing that the Election Day Statutes preempt

Mississippi’s Ballot Receipt Deadline. “The Elections Clause of the United States

Constitution, Art. I, § 4, cl. 1, gives states the responsibility for establishing the time,

place, and manner of holding congressional elections, unless Congress acts to

preempt state choices.” Voting Integrity Project, Inc. v. Bomer, 199 F.3d 773, 775

(5th Cir. 2000). States have “wide discretion in the formulation of a system for the

choice by the people of representatives in Congress.” U.S. v. Classic, 313 U.S. 299,


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311 (1941). “Thus, a state’s discretion and flexibility in establishing the time, place

and manner of electing its federal representatives has only one limitation: the state

system cannot directly conflict with federal election laws on the subject.” Bomer,

199 F.3d at 775.

      Congress’s power to regulate the “Times, Places, and Manner” of

congressional elections supersede “inconsistent” State laws “so far as it is exercised,

and no farther.” Arizona v. Inter Tribal Council of Ariz., Inc., 570 U.S. 1, 8–9 (2013)

(quoting Ex parte Siebold, 100 U.S. 371, 392 (1880)) (emphasis added). When

Congress exercises this power, “the reasonable assumption is that the statutory text

accurately communicates the scope of Congress’s pre-emptive intent.” Id. at 14.

Thus, Courts should “read Elections Clause legislation simply to mean what it says.”

Id. at 15. In this case, much must be read into the Election Day Statutes for

Appellants to prevail: those laws simply do not say what Appellants claim.

      The Libertarian Party attempts to make its uphill battle a tiny bit less

demanding, by arguing that the Supreme Court has abrogated Bomer’s “direct

conflict” standard and established a more “lenient” standard for federal preemption

of state laws under the Elections Clause. Lib. Br. at 18. But that is not correct. As

the RNC acknowledges, there is no meaningful daylight between Bomer and Inter

Tribal’s articulation of the standard—they simply use “slightly different language.”

RNC Br. at 17. As the district court observed, this Court has since cited both



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articulations of the standard with approval. See Voting for America, Inc. v. Steen,

732 F.3d 382, 399, 400 (5th Cir. 2013). And in Inter Tribal itself, the Supreme Court

said that the “straightforward textual question” presented in Elections Clause cases

is whether the state statute “conflicts with” federal law. 570 U.S. at 9.

      However the question is articulated, the answer is straightforward. None of

the federal statutes at issue—2 U.S.C. §§ 1, 7 and 3 U.S.C. § 1—speaks to when

ballots must be received to be counted, much less requires the rejection of timely-

cast ballots or otherwise conflicts with the Ballot Receipt Deadline. Appellants reach

their preferred result through an impossibly broad interpretation of the statutory term

“election.” But the plain meaning of that term requires only that ballots be cast by

election day—precisely what Mississippi’s Ballot Receipt Deadline requires.

Appellants’ contrary view—that “election” means “casting and receipt” of ballots—

finds no support in the text, structure, or history of the Election Day Statutes.

      A.     The Ballot Receipt Deadline is consistent with the plain text of the
             Election Day Statutes.

      Statutory interpretation begins (and ends) with the text. Ross v. Blake, 578

U.S. 632, 638 (2016). The Election Day Statutes simply designate when the

“election” must occur. 2 U.S.C. §§ 1, 7; 3 U.S.C. §§ 1, 21(1). Nothing in their text

says anything about procedures for transmission, receipt, processing, or counting of

ballots. Those decisions are therefore left to the states. See Bognet, 980 F.3d at 353

(“Federal law does not provide for when or how ballot counting occurs.”); Way I,


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492 F. Supp. 3d at 372 (the Election Day Statutes “are silent on methods of

determining the timeliness of ballots”); Bost, 684 F. Supp. 3d at 736 (holding

Illinois’ post-election-day receipt deadline “operates harmoniously with the federal

statutes that set the timing for federal elections”).

      As Appellants all apparently agree, RNC Br. at 18, Lib. Br. at 31, the relevant

text is the word “election” in the Election Day Statutes. Congress first enacted the

Election Day Statutes in the mid-nineteenth century. See 5 Stat. 721 (1845)

(predecessor to 3 U.S.C. § 1); 17 Stat. 28 (1872) (predecessor to 2 U.S.C. § 7). As

the RNC notes, contemporaneous dictionaries defined “election” as “[t]he day of a

public choice of officers” or “[t]he act or process of choosing a person or persons

for office by vote.” RNC Br. 18-19; see also Foster v. Love, 522 U.S. 67, 71 (1997)

(defining an “election” as the voters’ “act of choosing a person to fill an office”

(quoting N. Webster, An American Dictionary of the English Language 433 (Charles

Goodrich & N. Porter eds. 1869))); Newberry v. United States, 256 U.S. 232, 250

(1921) (defining “election” as the “final choice of an officer by the duly qualified

electors”). That is, “election” day is the day by which voters must make their

“choice.”

      Mississippi’s Ballot Receipt Deadline is entirely consistent with that

definition. When the voter places a marked absentee ballot in the mail, they have

made their final choice. At that point, the ballot is beyond the voter’s custody and



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control—the voter has no opportunity to change their vote between the time the

ballot is deposited in the mail and the time it is received, processed, and canvassed

by election officials. And, consistent with the Election Day Statutes, Mississippi law

requires that final choice to be made on or before election day. It does not, as the

Libertarian Party asserts, “hold[] voting open” after election day. Lib. Br. at 27.

      The only authority Appellants can muster for their textual argument that

“election day” must instead be read to mean “ballot receipt day” is an 80-year-old

Montana Supreme Court decision interpreting a now-defunct provision of Montana

state law. In Maddox v. Board of State Canvassers, 149 P.2d 112 (Mont. 1944), the

Montana Supreme Court did not, as the RNC claims, “h[o]ld that the election-day

statutes preempt post-election receipt of absentee ballots,” nor did it “discern[] the

original meaning of the election day statutes.” RNC Br. at 20. As a matter of federal

law, the court said only that the Montana legislature may not “extend beyond

[election day] the time when the presidential electors shall be appointed or elected

by the ballots of the voters.” 149 P.2d at 114. The court then observed that, as a

matter of Montana law, “voting is done not merely by marking the ballot but by

having it delivered to the election officials and deposited in the ballot box before the

closing of the polls on election day.” Id. at 115. That conclusion flowed not from

any interpretation of the Election Day Statutes, or from the original meaning of the

word “election,” but from Montana statute. See id. (reviewing Montana statutes).



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The court concluded: “The federal and state laws must be read together; and since

the state law provides for voting by ballots deposited with the election officials, that

act must be completed on the day designated by state and federal laws.” Id.

(emphasis added). In other words, because Montana law specified that a ballot was

not “cast” until it was “deposit[ed] in the ballot box,” that act needed to be completed

by the federal election day—the day by which voters must cast their votes. Id.

      The Montana Supreme Court recognized that different states had different

rules for determining when a voter has “voted” and a vote has been cast. Maddox

cited Goodell v. Judith Basin Cnty., 224 P. 1110 (Mont. 1924), for the proposition

that Montana law considers a ballot cast only when it is delivered. 149 P.2d at 115.

In Goodell, the Montana Supreme Court distinguished Montana law from that of

New Hampshire, which provided that “the elector parts with all control over his

ballot and has in fact voted when the ballot is marked and deposited in the mail

addressed to the proper election officer.” Id. at 1113 (citing In re Opinion of the

Justices, 113 A. 293 (N.H. 1921)) (emphasis added). That is, under New Hampshire

law at that time, unlike Montana law, a voter had “voted” once “the voter [] part[ed]

with all control over his vote.” 113 A. at 299. The situation today is the same as it

was a century ago—some states require ballots to be received by election day, while

others deem ballots cast when put in the mail. That is each state’s choice. The

Montana Supreme Court’s opinion in Maddox cannot be read as a statement of the



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original meaning of the Election Day Statutes—or some widely understood meaning

of the term “election”—as even it recognized that at least one other state had a

contrary understanding of when a voter has “voted” and a ballot has been “cast.” 7

      The RNC next points to federal statutes allowing for special elections to fill

vacancies in federal office, or for runoff elections. RNC Br. at 20. These statutes

provide exceptions to the general rule that “election day” is the Tuesday after the

first Monday in November. But they say nothing about the statutory meaning of the

term “election.” Nor do they shed any light on what official actions, if any, must

occur on or before “election day.” They simply allow states to designate a different

“election day” for special elections under narrow circumstances. See Foster, 522

U.S. at 71 n.3 (explaining that 2 U.S.C. § 8 “provides that a State may hold a

congressional election on a day other than the uniform federal election day”). The

RNC insists that they somehow serve to exempt some administrative tasks—

canvassing, tallying, and certification—from the definition of “election,” but not



7
  Notably, Montana’s state law has since been changed—at least in part. Montana
law no longer provides that “when the ballot has been placed in the box, one of the
judges must write the word ‘Voted’ opposite the number of the person on the check-
list for the precinct.” Maddox, 149 P. at 115. Over a decade ago, Montana amended
its law to allow for military-overseas ballots to be counted if transmitted
electronically by 8 p.m. on election day and received by elections officials no later
5 p.m. on the day after election day. See Mont. Code § 13-21-226(1). Montana’s
choice to amend its state law illustrates precisely why Appellants are wrong here—
no federal law presently displaces the constitutional prerogative states retain to
choose when ballots must be received.

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others (i.e., receiving the ballot). But they offer nothing more than their bare say-so

in support of this claim, rather than any coherent definition of the term “election”

that supports the self-serving distinction the RNC wishes to draw. 8

      B.     The Ballot Receipt Deadline is consistent with the purpose and
             legislative history of the Election Day Statutes.

      Though the Court need not inquire beyond the statute’s clear text, see Adkins

v. Silverman, 899 F.3d 395, 403 (5th Cir. 2018), the purpose and legislative history

of the Election Day Statutes confirm that “election day” is the day by which voters

must make their “choice.” The legislative history shows that the Election Day

Statutes were enacted to prevent (1) “distortion of the voting process threatened

when the results of an early federal election in one State can influence later voting

in other States” and (2) the “burden on citizens forced to turn out on two different

election days to make final selections of federal officers in presidential election

years.” Bomer, 199 F.3d at 777; see also Foster, 522 U.S. at 73–74; Cong. Globe,

42d Cong., 2d Sess. 141 (1871). Congress also wished to prevent a situation where

voters could travel “from one part of the Union to another[] in order to vote” in

multiple states. Cong. Globe, 28th Cong., 1st Sess. 679 (1844). Mississippi’s Ballot

Receipt Deadline is entirely consistent with these purposes. It requires voters to


8
  Busbee v. Smith, 549 F. Supp. 494 (D.D.C. 1982), which the RNC cites, has no
bearing on this case. It merely stands for the unremarkable proposition that Section
8 creates an exception to the requirement that federal elections be held on the federal
election day. Id. at 526. It sheds no light on the meaning of “election.”


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make their final selection of candidates on or before election day, so there is no risk

of “distortion” from early results in other states. It does not force citizens to turn out

on multiple days. And it does not allow or encourage voters to vote in other states.

      None of the additional legislative history that the Appellants cite has any

bearing on the interpretive question presented here. Congress’s rejection of statutes

that would have allowed “multi-day voting,” RNC Br. at 29; Lib. Br. at 42, simply

confirms what the Election Day Statutes already clearly say—that there is a single

“election day.” It does not shed any light on the meaning of “election” or whether

ballots must be received—rather than simply cast—by “election day.” That

argument assumes the premise—that allowing ballots to be received after election

day constitutes post-election-day “voting.” And this Court has already held that “the

plain language of the statute does not require all voting to occur on federal election

day”—rendering Congress’s rejection of “multi-day voting” irrelevant. Bomer, 199

F.3d at 776. 9 The RNC further argues that the district court ignored that Congress


9
  Bomer’s holding was not, as the RNC erroneously suggests, based solely on the
“universal, longstanding practice” of absentee voting. RNC Br. at 29-30 (quoting
Bomer, 199 F.3d at 776). The Court first determined that the plain “language” of the
Election Day Statutes gave a “clear signal” that “some acts associated with the
election may be conducted before the federal election day without violating the
federal election statutes.” Bomer, 199 F.3d at 776. So too here. See supra § I.A. And
in any event, as described further below, post-election-day ballot receipt deadlines
also have a longstanding pedigree in American elections. Similarly, the Ninth
Circuit’s dicta in Voting Integrity Project v. Kiesling that the Election Day Statutes
“may reasonably be construed to mean that all voting in federal elections should take


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was also concerned about “double voting,” the “transmission of voters from one

State to another,” and “combat[ting] fraud by minimizing the opportunity for voters

to cast ballots in more than one election.” RNC Br. at 30 (citations omitted). The

RNC makes no attempt to explain how the Ballot Receipt Deadline in any way

implicates those concerns. It does not.

      Finally, as this Court said in Bomer, “we cannot conceive that Congress

intended the federal Election Day Statutes to have the effect of impeding citizens in

exercising their right to vote. The legislative history of the statutes reflects

Congress’s concern that citizens be able to exercise their right to vote.” 199 F.3d at

777 (citing Cong. Globe, 42d Cong., 2d Sess. 3407–08 (1872)). Yet, Appellants ask

that this Court interpret those statutes to require Mississippi to reject the ballots of

lawful, qualified Mississippi voters. Both sets of Appellants feign ignorance about

“how” their reading of the Election Day Statutes would impede voters from

accessing the franchise. Lib. Br. at 43; RNC Br. at 31. But the consequences of their

view are as obvious as they are severe. Indeed, the RNC’s stated purpose in bringing

this lawsuit is to prevent the counting of otherwise lawful ballots that they believe

are more likely to be cast for their opponents. They have argued that they will suffer




place on a single day,” 259 F.3d 1169, 1176 (9th Cir. 2001), was not, as the RNC
suggests, the holding of that case. RNC Br. at 24. The Ninth Circuit, like this Court
in Bomer, rejected that reading of the Election Day Statutes. 259 F.3d at 1176.


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injury to their electoral prospects because such ballots will “disproportionately break

for Democrats,” cutting into “fragile” “early Republican leads in close races,” RNC

Compl. ¶¶ 56–57, ROA.32. Nowhere does either Appellant dispute the obvious fact

that their ruling would lead some number of otherwise qualified electors to have

their ballots rejected, perhaps for no other reason than a delay in mail delivery.

      While “deadlines” may be a necessary component of elections, RNC Br. at

31, deadlines for voters must be concrete and clear, and meeting them must be within

the voter’s control. The Ballot Receipt Deadline sets a clear deadline for voters: they

must mail their ballots on or before election day, and if voters comply with that

deadline, they are reasonably assured that their ballot will be counted. Without that

rule, voters are left to guess at how long the U.S. Postal Service may take to deliver

their ballots and will be forced to mail their ballots far in advance of election day

without any assurance that the ballot will be counted. In recent years, mail delays

have meant that even voters who mail their ballots well in advance of election day

may find themselves disenfranchised as the result of postal service delays that are

entirely outside of their control. The Postal Service has even settled litigation

stemming from delays in delivery of ballots. See Stipulation & Consent Order,

Democratic Party of Va. v. Veal, No. 3:21-cv-671-MHL (E.D. Va. Oct. 28, 2021),

ECF No. 27; NAACP v. U.S. Postal Serv., No. 20-cv-2295 (EGS), 2020 WL 6469845

(D.D.C. Nov. 1, 2020) (ordering USPS to take steps to ensure the timely delivery of



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mail-in ballots). The Ballot Receipt Deadline helps protect these voters, who no one

contends failed to cast their ballots by election day. Adopting Appellants’

interpretation of the Election Day Statutes would therefore undoubtedly “have the

effect of impeding citizens in exercising their right to vote.” Bomer, 199 F.3d at 777.

      C.     Cases interpreting the term “election” confirm its plain meaning.

      Appellants’ main interpretive argument arises not from the text of the Election

Day Statutes, but instead from a strained, overly literal interpretation of the Supreme

Court’s statement in Foster v. Love that “[w]hen the federal [election] statutes speak

of ‘the election’ of a Senator or Representative, they plainly refer to the combined

actions of voters and officials meant to make a final selection of an officeholder

. . . .” 522 U.S. at 71. Based on this language, the RNC reasons that “final selection”

“does not occur when the voter merely marks the ballot or delivers the ballot to the

post office because those events do not involve an election official.” RNC Br. at 24-

25. That understanding of Foster is wrong for at least three reasons.

      First, and most importantly, the Supreme Court expressly declined to offer any

opinion regarding the meaning of the term “election” in the Election Day Statutes

beyond its narrow holding that an election that “is concluded as a matter of law

before the federal election day, with no act in law or in fact to take place on the date

chosen by Congress, clearly violates § 7.” Foster, 522 U.S. at 72. The Court

explicitly cautioned that its decision should not be read to “par[e] the term ‘election’



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in § 7 down to the definitional bone.” Id. It recognized “room for argument about

just what may constitute the final act of selection within the meaning of the law,”

and emphasized that “our decision does not turn on any nicety in isolating precisely

what acts a State must cause to be done on federal election day (and not before it) in

order to satisfy the statute.” Id.

       Just as important as what the Court did decide in Foster is what it expressly

did not decide: “This case thus does not present the question whether a state must

always employ the conventional mechanics of an election. We hold today only that

if an election does take place, it may not be consummated prior to federal election

day.” Id. at 72 n.4. Plainly, the Ballot Receipt Deadline does not violate that rule

because it does not cause an election to “conclude[] as a matter of law before the

federal election day.” Id. at 72. Appellants ask this Court to ignore the Supreme

Court’s admonition and broaden Foster to control a question that it expressly

declined to decide. See Millsaps v. Thompson, 259 F.3d 535, 545 (6th Cir. 2001)

(noting “the Supreme Court’s silence in Foster as to which acts a State must take on

federal election day”). The Supreme Court—not, as the RNC says, the district

court—“went to pains to limit Foster to its facts,” RNC Br. at 26. The district court

here appropriately heeded that warning.

       Second, Appellants’ argument ignores that, even accepting Appellants’ hyper-

literal interpretation, the mailing of ballots on or before election day does require



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several actions of election officials. Before a voter can mark and return an absentee

ballot, election officials must disburse applications for absentee ballots, process the

application, prepare and print the ballot, and mail the ballot to the elector. Miss. Code

§§ 23-15-625; 23-15-649. It is then up to the voter to mark, seal, and mail the

absentee ballot. At that point, the voter’s engagement with the process ends, and

with it the “combined actions” of voters and election officials. Appellants nowhere

explain how that fails to comply with Foster’s holding.

      Finally, grafting Appellants’ highly literal interpretation of this passage from

Foster into the text of the Election Day Statutes would lead to absurd and

catastrophic results. As Appellants understand Foster, the “combined actions of

voters and officials meant to make a final selection of an officeholder” must all occur

on election day. That cannot be right. As the RNC acknowledges: “After election

day, election officials go about various duties: counting ballots, disqualifying voters,

hearing challenges, and certifying the election.” RNC Br. at 25-26. Under

Appellants’ hyper-literal reading of Foster, however, all these activities—the

“combined actions of voters and officials” must occur on election day. That would

require officials to arbitrarily stop counting ballots at the stroke of midnight on

election day, upending election administration in all fifty states.

      Not so, the RNC responds, because the only “official action” that needs to

occur on election day under Foster is “receipt.” All these other “official acts,” are



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not part of the “combined” actions of voters and election officials. RNC Br. at 28.

But this is a limitation created entirely in Appellants’ own imagination, with no basis

in either Foster, the statutory text, or even the definition that Appellants graft onto

both. There is simply no reason to conclude that by “combined actions of voters and

officials meant to make a final selection of an officeholder,” 522 U.S. at 71

(emphasis added), the Foster Court meant mere receipt of the ballots. The Sixth

Circuit properly rejected this exact interpretation in Millsaps, explaining that “‘final

selection’ of an officeholder requires more than mere receipt of ballots cast by

voters.” 259 F.3d at 545-46. It then detailed the various administrative tasks

necessary to conclude the election, including counting ballots, certification, and

formal announcement of the results. Id. at 546. As the Sixth Circuit put it, a “focus

on the single act of receiving a ballot from a voter presents an unnatural and stilted

conception of the actions taken by election officials.” Id. That is precisely the

arbitrary and self-serving dividing line Appellants urge here. But their view “loses

sight of the fact that an official’s mere receipt of a ballot without more is not an act

meant to make a final selection.” Id.

      There is a far simpler, and less disruptive, answer to what the “the combined

actions of voters and officials” refers to. The Supreme Court itself supplied the

answer in Foster: the “combined actions of voters and officials” “may not be

consummated prior to federal election day.” 522 U.S. at 71, 72 n.4 (emphasis added).



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Foster pointedly says nothing more, and certainly did not encourage courts to traipse

through the interpretive thicket that Appellants have constructed.

      Several recent decisions have universally come to the conclusion that the

Election Day Statutes address when ballots must be cast—not when they must be

received. In Way I, the district court rejected the RNC’s (and others’) challenge to a

New Jersey law that allowed for the counting of non-postmarked ballots received

after election day. 492 F. Supp. 3d at 369. All parties agreed that ballots must be cast

by Election Day to be valid. Id. at 371. The specific question presented was “whether

the Federal Election Day Statutes preempt New Jersey’s method of determining

whether a ballot received without a postmark . . . was cast on or before Election

Day.” Id. at 371–72. The court “f[ound] that New Jersey’s law permitting the

canvassing of ballots lacking a postmark if they are received within forty-eight hours

of the closing of the polls is not preempted . . . because the Federal Election Day

Statutes are silent on methods of determining the timeliness of ballots.” Id. at 372

(emphasis added); see also id. (“New Jersey law prohibits canvassing ballots cast

after Election Day, in accordance with the Federal Election Day Statutes.”

(emphasis added)). Thus, a ballot is “timely” when it is “cast” by Election Day.

      The Third Circuit in Bognet also treated the “receipt” of ballots as akin to

routine post-election actions—like counting and canvassing—distinct from casting

or voting a ballot. Bognet addressed a challenge to Pennsylvania’s extended ballot



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receipt deadline during the COVID-19 pandemic. 980 F.3d at 345–46. Although the

Third Circuit’s decision addressed only standing, the court explained that the

“concreteness of the Voter Plaintiffs’ alleged vote dilution stemming from the

Deadline Extension turns on the federal and state laws applicable to voting

procedures.” Id. at 353. In that context, the court explained that “Federal law does

not provide for when or how ballot counting occurs,” and thus “the Deadline

Extension and federal laws setting the date for federal elections can, and indeed do,

operate harmoniously.” Id. at 353–54. Accordingly, the plaintiffs had alleged only a

violation of state—not federal—law. Id. at 354–55.

      Relying in part on these precedents as well as the plain text of the Election

Day Statutes, a court in the Northern District of Illinois recently rejected the merits

of an identical preemption challenge to Illinois’ ballot receipt deadline. Bost, 684 F.

Supp. 3d at 736. As that court succinctly explained: “There is a notable lack of

federal law governing the timeliness of mail-in ballots.” Id. But “[b]y counting only

th[o]se ballots that are postmarked no later than Election Day, the Statute complies

with federal law that set[s] the date for Election Day.” Id. at 736-37. The statute

therefore “does not facially conflict with the federal election law.” Id. at 737. 10

      Appellants’ only response is to wave away these cases, claiming that they



10
  Because the Seventh Circuit affirmed dismissal of this case on standing grounds,
2024 WL 3882901, at *1, it did not reach the merits.


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“ignored the historical practice” and over-relied on “congressional acquiescence.”

RNC Br. at 28. But that argument mischaracterizes both the courts’ analysis and the

relevant history, as explained below.

      D.     Historical practice and congressional action demonstrate that the
             Ballot Receipt Deadline is consistent with the Election Day Statutes.

      Appellants’ insistence that “historical practice” at the time the Election Day

Statutes were originally enacted supports their position is without merit. According

to Appellants, because states did not have post-election ballot receipt deadlines in

1872, they are prohibited from enacting them now. That remarkable proposition

would turn the Elections Clause on its head. Congress’s power under that clause

preempts state laws only “so far as it is exercised, and no farther.” Inter Tribal, 570

U.S. at 9. Congress did not, in passing the Election Day Statutes, freeze state election

practices in time. If that were the case, states would essentially be prohibited from

modernizing their elections by adopting new practices not contemplated in 1872.

That rigid view would virtually eliminate states’ “wide discretion in the formulation

of a system for the choice by the people of representatives in Congress.” Classic,

313 U.S. at 311.

      Appellants offer no evidence at all—in the form of legislative history or

otherwise—that the drafters of the Election Day Statutes intended to prohibit states

from counting mail ballots received after election day, or that legislators (at any point

in history) understood the Election Day Statutes that way. They simply draw


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inferences from their contention that post-election ballot receipt deadlines were not

widely in place at the time the Election Day Statutes were enacted. But because

voting by mail is, by Appellants’ own account, a relatively recent innovation, it

follows that the Congress that passed the Election Day Statutes would have no view

at all on the subject. Indeed, the Libertarian Party asserts that for much of this history

it was “not physically possible” for ballots to be received after election day. Lib. Br.

at 32. Putting aside whether that assertion is historically accurate, it makes little

sense to say that the Election Day Statutes were “originally” understood to prohibit

a practice that was unknown at the time they were enacted. See Bostock v. Clayton

Cnty., 590 U.S. 644, 654–55 (2020) (“ordinary public meaning” refers to the

statute’s meaning “at the time of enactment”).

      More importantly, however, Appellants badly misread the historical record to

suggest that post-election ballot receipt deadlines are an entirely recent innovation.

In fact, post-election ballot receipt deadlines have been a feature of American

elections for well over a century.

      During the Civil War, many states adopted laws to permit service members to

vote in the field. Oftentimes these soldiers cast their ballots in the field on election

day, typically before their own officers. But their votes were not added to the full

count until conveyed back to their home states for a canvass. See Josiah Henry

Benton, Voting in the Field 317-18 (1915). Many states, in both the North and South,



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extended their canvassing deadlines to accommodate this. Id. This was necessary

because of “the difficulty of getting the votes home to the various States in season

to be counted with the other votes.” Id. at 316. Under these systems, election officials

would not receive the results of these in-the-field elections until well after election

day. Id. at 318. The Libertarian Party attempts to distinguish these practices by

noting that these statutes “deputized” servicemembers as election officials. Lib. Br.

at 43-44. That is a distinction without a difference. Those ballots could not be

counted and added to the official tally until those tallies were transmitted to election

officials in the voters’ home states—often after election day. 11

      As absentee voting proliferated in the late 19th and early 20th centuries, states

experimented with a variety of different models—consistent with the federalist

structure enshrined in the Elections Clause. For example, five states permitted an

absent voter to cast a ballot elsewhere within the state on election day, and then have

that ballot mailed back to election officials in the person’s home precinct after

election day to be added into the count. P. Orman Ray, Absent Voters, 8 Am. Pol.




11
  In the 1864 presidential election, for instance “Vermont soldiers voted in the field,
but there was a delay in transmitting the votes to be counted in the State,” resulting
in a miniscule tally of votes from Vermont’s servicemembers. Benton, Voting in the
Field 89. The point is clear—mere receipt by election officials in the field was not
enough. Actual transmission, tallying, and certification of such votes are every bit
as much a part of the process as “receipt,” despite Appellants’ efforts to draw an
arbitrary line in the sand at that point.


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Sci. Rev. 442, 442-43 (1914) (Kansas, Missouri); P. Orman Ray, Absent-Voting

Laws, 1917, 12 Am. Pol. Sci. Rev. 251, 253 (May 1918) (Washington); Joseph P.

Harris, Election Administration in the United States 287-288 (1934) (Oregon,

Florida). In Washington, for example, voters who were unable to vote in their home

counties could cast a ballot in another county which would then be “sealed and

returned to the voter’s home county.” Ray, Absent-Voting Laws, 1917, 12 Am. Pol.

Sci. Rev. at 253. “In order to be counted the ballot must have been received by the

[home] county auditor within six days from the date of the election or primary.” Id.

at 253-54 (emphasis added). That is materially indistinguishable from the Ballot

Receipt Deadline, which requires voters to transmit their ballots by election day but

allows for those ballots to be counted as long as they are received by the relevant

election official within five days thereafter. Handing a ballot to a county election

official who is not empowered to count or process it, for delivery to the correct

county election official, is no different from handing the ballot to a postal worker.

      At least as early as 1924, California law required that all absentee ballots must

be received “within fourteen days after the date of the election in which such ballots

are to be counted.” Cal. Political Code § 1360 (James H. Derring ed. 1924). In

response to World War I, other states enacted similar laws specifically for military

voters. In Kansas, as early as 1923, military ballots had to be “return[ed]” “before

the tenth day following [the] election.” Kans. Rev. Stat. § 25-1106 (Chester I. Long,



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et al., eds. 1923) (emphasis added). New York and Minnesota had similar laws. See

P. Orman Ray, Military Absent-Voting Laws, 12 Am. Pol. Sci. Rev. 461, 464, 468-

69 (1918).

      By 1942, with the United States’ entry into World War II, post-election day

receipt deadlines were ubiquitous. An advisory memorandum prepared by the Office

of War Information for soldiers in the field advised soldiers how to vote based on

their state absentee voting laws, with a table including a column for the “Last day

for receipt of ballot by election officials.” Bill to Amend the Act of September 16,

1942: Hearing on H.R. 3436 Before the H. Comm. on Election of President, Vice

President, and Representatives in Congress, 78th Cong. 100, 102 (Oct. 26, 1943)

(reproducing publication inserted into record). 12 This circular, distributed to active

servicemembers in 1942 for a general election held on November 3, reflects that

post-election day ballot receipt deadlines at this time were far from unheard of—

they were common:




12
   This compilation, issued in 1942, was later entered into the congressional record
by Representative Rankin of Mississippi, during hearings in October and November
of 1943 by the House Committee on Election of President, Vice President, and
Representatives in Congress. It was presented to and considered by the district court
at the summary judgment hearing. ROA.1256-57.


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As set forth in this table, at least seven states—California, Kansas, Maryland,

Missouri, Pennsylvania, Rhode Island, and Washington—had post-election ballot

receipt deadlines, either for civilians, servicemembers, or both. Id. at 101. Nebraska

soon followed in 1943. Neb. Rev. Stat. § 32-838 (1943) (requiring acceptance of

mail-in ballots received “not later than 10:00 a.m. on the second day following

election day”).


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      Against this background, Congress passed the Soldier Voting Act, which

allowed servicemembers to vote absentee in federal elections using a new federal

“war ballot,” notwithstanding any contrary state laws. The Act explicitly specified

that “no official war ballot shall be valid . . . if it is received by the appropriate

election officials . . . after the hour of closing the polls on the date of the holding of

the election.” Act of Sept. 16, 1942, ch. 561, 56 Stat. 753, § 9 (the “1942 Act”). The

1942 Act is significant for two reasons. First, it shows that, when Congress wishes

to set election day as a categorical deadline for receipt of ballots, it knows how to

clearly do so. Courts “do not lightly assume that Congress has omitted from its

adopted text requirements that it nonetheless intends to apply, and our reluctance is

even greater when Congress has shown elsewhere in the same statute that it knows

how to make such a requirement manifest.” Jama v. Immigr. & Customs Enf’t, 543

U.S. 335, 341 (2005). Second, if, as Appellants contend, it was widely understood

that the Election Day Statutes require an election day receipt deadline, then there

would have been no need for Congress to specify election day as the receipt deadline

for military absentee ballots—the Election Day Statutes would have already

provided such a deadline. In other words, under Appellants’ interpretation of the

Election Day Statutes, the 1942 Act’s explicit election day receipt deadline was

entirely superfluous.

      In the post-World War II era, states continued to accept absentee ballots after



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election day. In Missouri in 1958, ballots needed to be “postmarked the day of the

election and reach the election official the day next succeeding the election.” Elliott

v. Hogan, 315 S.W.2d 840, 848 (Mo. App. 1958) (citing Mo. Stat. § 112.050). In

Alaska in 1978, ballots were required to be returned by the “most expeditious mail

service, postmarked not later than the day of the election, to the election supervisor

in [the voter’s] district.” Hammond v. Hickel, 588 P.2d 256, 268 (Alaska 1978)

(citing Alaska Stat. § 15.20.150). As Appellants acknowledge, RNC Br. at 22-23,

Nebraska and Washington also allowed post-election ballot receipt for at least part

of the 20th century. See Overseas Absentee Voting: Hearing on S. 703 Before the S.

Comm. on Rules and Admin., 95th Cong. 33-34 (1977) (Statement of John C. Broger,

Deputy Coordinator of the Federal Voting Assistance Program, Department of

Defense). And the congressional record shows that Congress was well aware of these

practices. See id; 116 Cong. Rec. 6996 (1970) (Statement of Sen. Goldwater

describing states that permit “absentee ballots of certain categories of their voters to

be returned as late as the day of the election or even later.” (emphasis added)).

      In short, post-election-day ballot receipt deadlines are nothing new. “[Y]et

Congress has taken no action to curb this established practice.” Bomer, 199 F.3d at

776. As this Court explained in the related context of absentee voting: “We are

unable to read the federal election day statutes in a manner that would prohibit such

a universal, longstanding practice of which Congress was obviously well aware.” Id.



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“Despite these ballot receipt deadline statutes being in place for many years in many

states, Congress has never stepped in and altered the rules.” Bost, 684 F. Supp. 3d at

736. That acquiescence is not a product of mere congressional inattention. Against

the backdrop of these longstanding state election laws, Congress has amended the

Election Day Statutes several times without addressing ballot receipt deadlines—

including most recently in December 2022. See Electoral Count Reform and

Presidential Transition Improvement Act of 2022, Pub. L. No. 117-328, div. P, tit. I,

136 Stat. 4459, 5233 (2022). See Bob Jones Univ. v. United States, 461 U.S. 574,

599 (1983) (finding “unusually strong case of legislative acquiescence” where

Congress was “constantly reminded” and “aware[]” of the issue “when enacting

other and related legislation”).

      There is more. Congress has not just “acquiesced” in longstanding post-

election ballot receipt deadlines, but has in fact affirmatively acknowledged in other

federal statutes that ballot receipt deadlines are left up to the states. In 1986,

Congress passed the Uniformed and Overseas Citizens Absentee Voting Act

(UOCAVA). The Congressional record once again shows that Congress, at the time

it enacted UOCAVA, was well aware that many states had post-election-day receipt

deadlines. By the mid-1980s, for at least some voters, “[t]welve [states] ha[d]

extended the deadline for the receipt of voted ballots to a specific number of days

after the election.” Uniformed and Overseas Citizens Absentee Voting: Hearing on



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H.R. 4393 99 Cong. 21 (Feb. 6, 1986) (Statement of Henry Valentino, Director,

Federal Voting Assistance Program). With that testimony at hand, Congress enacted

52 U.S.C. § 20303(b)(3), which provides that an alternative federal write-in ballot

for military and overseas voters shall not count “if a State absentee ballot of the

absent uniformed services voter or overseas voter is received by the appropriate State

election official not later than the deadline for receipt of the State absentee ballot

under State law.” (emphasis added). So Congress, aware that several states had post-

election-day receipt deadlines, explicitly incorporated those deadlines by reference

into a key provision of UOCAVA.

      The Libertarian Party dismisses this observation as a “strawman,” because

UOCAVA “did not modify ballot receipt deadlines or grant states authority to do the

same.” Lib. Br. at 45; see also RNC Br. at 33-34. But that is precisely the point—

UOCAVA did not need to do so because neither the Election Day Statutes nor any

other federal law displaces state authority to enact such deadlines. And the text of

UOCAVA acknowledges that ballot receipt deadlines are a matter of “State law.” 52

U.S.C. § 20303(b)(3).

      Next, in 2009, Congress passed the MOVE Act, which updated key provisions

of UOCAVA. As relevant here, the MOVE Act requires military officials to ensure

that overseas servicemembers’ ballots “for regularly scheduled general elections for

Federal office” are delivered “to the appropriate election officials” “not later than



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the date by which an absentee ballot must be received in order to be counted in the

election.” 52 U.S.C. § 20304(b)(1) (emphasis added); Pub. L. No. 111-84, div. A,

tit. V., subtit. H, § 580(a), 123 Stat. 2190. The MOVE Act thus explicitly

incorporates state-law ballot receipt deadlines into the federal statutory scheme. This

language makes no sense if the Election Day Statutes categorically preempted long-

existing post-election-day receipt deadlines. Congress could have just as easily

required that such ballots be delivered to election officials “by election day.” Instead,

it again deferred to the states’ constitutional prerogative to set this deadline. This is

not a case of congressional inaction, but rather a case where Congress has repeatedly

demonstrated its understanding that ballot receipt deadlines are a question of state,

not federal law.

      Finally, Appellants’ position is inconsistent with the longstanding practice of

federal courts remedying UOCAVA violations. Courts frequently extend ballot

receipt deadlines to remedy such violations. See Cases Raising Claims Under the

Uniformed and Overseas Citizen Absentee Voting Act, Dep’t of Just. (Mar. 24,

2022), perma.cc/J8AS-X3K6. Appellants agree that federal courts may do so “as an

equitable remedy,” RNC Br. at 33; Lib. Br. at 45, but ignore that their reading of the

Election Day Statutes, if correct, would preclude that equitable remedy for a

violation of a different federal statute such as UOCAVA. See INS v. Pangilinan, 486

U.S. 875, 883 (1988) (explaining that even courts of equity cannot “disregard



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statutory [] requirements” or “create a remedy in violation of law”); Perkins v. City

of Chi. Heights, 47 F.3d 212, 217–18 & n.4 (7th Cir. 1995) (recognizing that

judicially-imposed consent decree to remedy a violation of a federal statute must

comply with federal law). And no Plaintiff points to any statutory provision that

would authorize federal courts to order an exception to the purported election-day

receipt requirement. 13 There is no such provision, because there is no such

requirement. 14

      The RNC asks the Court to ignore UOCAVA and instead look to the to the

1970 amendments to the Voting Rights Act, which require state officials to count

the ballots of qualified absentee voters so long as the voters “return such ballots to

the appropriate election official of such State not later than the time of closing of the

polls in such State on the day of such election.” RNC Br. at 32-33. (quoting 52

U.S.C. § 10502(d)). That Congress declined to mandate a post-election receipt

deadline in the VRA amendments certainly does not demonstrate that Congress

understood the Election Day Statutes to prohibit such a rule. That argument is

expressly foreclosed by the VRA itself. The same section specifies: “Nothing in this



13
  The Libertarian Party cites 52 U.S.C. § 20307, which simply provides that the
“Attorney General may bring a civil action in an appropriate district court for such
declaratory or injunctive relief as may be necessary to carry out this chapter.”
14
  The Libertarian Party, in fact, appears to affirmatively argue that Congress has not
passed such a law. Lib. Br. at 46.


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section shall prevent any State or political subdivision from adopting less restrictive

voting practices than those that are prescribed herein.” 52 U.S.C. § 10502(g).

      Appellants would have this Court believe that, for over 150 years, the Election

Day Statutes have contained a latent election-day receipt deadline. If that view is

correct, then numerous state legislatures across broad swathes of our history, federal

courts, and even Congress itself have wrongly interpreted the Election Day Statutes

for decades. Surely, if the meaning of the Election Day Statutes is as plain as

Appellants suggest, somebody would have said something before this recent spate

of failed lawsuits first raised the theory. But Appellants cannot identify a single

authority that has ever endorsed their view. The reason is clear—the Election Day

Statutes do not, and have never, required all ballots to be received in the mail by

election day.

II.   Mississippi’s Ballot Receipt Deadline does not burden Appellants’
      constitutional rights.

      Appellants candidly acknowledge that their purported First and Fourteenth

Amendment claims are simply repackaged preemption claims, and therefore must

fail if the Ballot Receipt Deadline is not preempted by the Election Day Statutes.

RNC Br. at 37; Lib. Br. at 48. Because that is plainly the case for the reasons

explained above, the Court need not inquire further.

      But Appellants’ constitutional claims also fail on their own merits. Violations

of the right to vote and to stand for office are reviewed under the Anderson-Burdick


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standard, which requires courts to “weigh the character and magnitude of the

asserted injury to voting rights against the precise interests put forward by the State

as justifications for the burden imposed by its rule.” Tex. League of United Latin

Am. Citizens v. Hughs, 978 F.3d 136, 143 (5th Cir. 2020) (internal quotation marks

omitted); Tex. Indep. Party v. Kirk, 84 F.3d 178, 182 (5th Cir. 1996). The first step

is to determine whether the right to vote or stand for office has been impacted at all.

See Tex. League of United Latin Am. Citizens, 978 F.3d at 144–45. Laws that do not

make it harder to vote do not implicate the right to vote. Id. at 144. Laws that do not

impede a candidate’s ability to be placed on the ballot do not implicate the right

stand for office. See Tex. Indep. Party, 84 F.3d at 184. 15

      Appellants cannot possibly show that the Ballot Receipt Deadline law makes

it harder for anyone to exercise the right to vote or be placed on the ballot. On its

face, the law simply ensures that qualified voters do not have their timely-cast ballots


15
   The RNC bizarrely tries to avoid the Anderson-Burdick analysis by recasting its
constitutional claims brought under the First and Fourteenth Amendments as
“§ 1983 claims.” RNC Br. at 37. But that is not how their Complaint is pleaded. See
RNC Compl. ¶ 73, ROA.35 (“Defendants, acting under color of Mississippi law,
have deprived and are depriving Plaintiffs of rights protected under the First
Amendment and 14th Amendment to the U.S. Constitution in violation of 42 U.S.C.
§ 1983.”); id. ¶ 79, ROA.35 (“Defendants have acted and will continue to act under
color of state law to violate the Fourteenth Amendment.”). And “Section 1983 is not
itself a source of substantive rights; it merely provides a method for vindicating
already conferred federal rights.” Fennell v. Marion Ind. Sch. Dist., 804 F.3d 398,
412 (5th Cir. 2015) (citation omitted). Here, the appropriate test for evaluating
Appellants’ substantive constitutional claims under the First and Fourteenth
Amendments is the Anderson-Burdick framework.

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rejected. It accordingly protects the right to vote; only if Appellants succeed will the

right to vote be impeded. Thus, the Ballot Receipt Deadline cannot violate the right

to vote under Anderson-Burdick. See, e.g., Short v. Brown, 893 F.3d 671, 677 (9th

Cir. 2018) (affirming dismissal of challenge to law that “does not burden anyone’s

right to vote” and instead “makes it easier for some voters to cast their ballots by

mail”). In the end, Appellants’ arguments that the Ballot Receipt Deadline violates

their constitutional rights is premised entirely on the presumption that ballots

received after election day are “unlawful” under federal law. Libertarian Party

Compl. ¶ 66, 79, ROA.1291, 1292; see also RNC Compl. ¶ 66, ROA.34. Because

the Election Day Statutes do not directly conflict with—and do not pre-empt—the

Receipt Deadline, this claim, too, must fail.

      Mississippi also has strong interests in ensuring that qualified voters who

timely cast their votes do not have those ballots arbitrarily rejected, and in avoiding

the voter confusion that would follow if the law was suddenly changed, as

Appellants demand. The Ballot Receipt Deadline and the Election Day Statutes share

common purpose in expanding the franchise and protecting the right to vote. “These

state interests constitute the very backbone of our constitutional scheme—the right

of the people to cast a meaningful ballot.” Utah Republican Party v. Cox, 892 F.3d

1066, 1084 (10th Cir. 2018); Riddell v. Nat’l Democratic Party, 508 F.2d 770, 778

(5th Cir. 1975) (noting “the avoidance of voter confusion is a worthwhile objective”



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for the state). The Ballot Receipt Deadline sets a clear, predictable rule for voters to

know when they must mail their ballot to ensure that it is counted, enabling eligible

voters to consume more information about candidates as it becomes available closer

to election day, which benefits both candidates and voters. It also accounts for

significant mail delays that have plagued previous elections. All of these are

compelling state interests that the Elections Clause allows Mississippi to pursue.

III.   The Purcell principle bars relief.

       Even if Appellants’ claims had any merit, they can no longer obtain relief in

advance of the 2024 general election. Time has simply run out. Oral argument in this

case is scheduled for September 24, 2024. Mississippi elections officials must

prepare and print absentee ballots no later than the previous day, September 23. See

Miss. Code § 23-15-649. And those absentee ballots must be mailed with printed

instructions informing voters that their ballots must “be postmarked on or before the

date of the election and received by the registrar no more than five (5) business days

after the election.” Miss. Code § 23-15-631(1)(c). The risk of voter confusion is

obvious and significant. See Purcell v. Gonzalez, 549 U.S. 1 at 4-5 (2006). Absentee

voters in Mississippi—including elderly and disabled voters and members of the

military—will undoubtedly rely on the printed instructions issued by state election

officials in deciding when to cast their absentee ballots.

       If ever there were a case for application of the so-called Purcell principle, it



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is this one. This Court has applied the principle to hold that an injunction changing

election procedures on September 25—eighteen days before early voting began in

Texas in 2020—was issued too close to the election. Tex. All. for Retired Ams. v.

Hughs, 976 F.3d 564, 565 (5th Cir. 2020); see also Veasey v. Perry, 769 F.3d 890,

892 (5th Cir. 2014) (staying an injunction entered nine days before the start of early

voting). Here, Appellants seek to change the rules for the 2024 election after

absentee ballots have already been distributed.

      This untenable situation was entirely of Appellants’ own making.

Mississippi’s Receipt Deadline was enacted in 2020 and has been in place for two

federal general elections. 2020 Miss. H.B. 1521, 2020 Miss. Gen. Laws 472, 2020

Miss. ALS 472.25. But Appellants waited until early 2024 to bring this lawsuit. They

did not seek emergency or preliminary relief, choosing instead to progress directly

to summary judgment. Nor have they sought an injunction pending appeal. Now,

with oral argument scheduled just six weeks before election day, Appellants ask this

Court to dramatically upset the settled expectations of Mississippi’s absentee voters

by contradicting the explicit instructions given to them by state election officials.

The Court should decline to do so.

                                  CONCLUSION

      The Court should affirm the judgment of the district court.




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Dated: September 9, 2024                 Respectfully submitted,

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                         CERTIFICATE OF SERVICE

      I hereby certify that on September 9, 2024, I electronically filed the foregoing

with the Clerk of the Court for the United States Court of Appeals for the Fifth

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Dated: September 9, 2024

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                      CERTIFICATE OF COMPLIANCE

      This brief complies with the word limits of Federal Rule of Appellate

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